Case: 1:23-cv-16262 Document #: 116-1 Filed: 10/24/24 Page 1 of 3 PageID #:1284




                    EXHIBIT 
 Case: 1:23-cv-16262 Document #: 116-1 Filed: 10/24/24 Page 2 of 3 PageID #:1285


From:               Wilson, Taylor J
To:                 19159330144@189.cn; 3087344532@qq.com; 610008588@qq.com; 530961394@qq.com
Cc:                 Chari, Deepa A; Springer-Ingram, Michael; Horowitz, Steven; Yang, Irene
Subject:            RE: Service of Minute Order regarding Roadget"s Motion for Entry of Default and Default Judgment, Dkt. 103,
                    Roadget v. Schedule A, Case No. 23-cv-16262
Date:               Tuesday, October 8, 2024 3:40:22 PM
Attachments:        image001.png
                    Dkt. 107 Minute Entry.pdf


Good afternoon,

Please see attached Minute Order amending the order entering default to include Defendant No. 33,
Shop1102741198 Store, and resetting the deadline to file objections to default judgment to October
18, 2024.

Best,

Taylor Wilson
TAYLOR J. WILSON
Associate

SIDLEY AUSTIN LLP
+1 312 853 0161
taylor.wilson@sidley.com



           From: Wilson, Taylor J <taylor.wilson@sidley.com>
           Sent: Friday, September 27, 2024 5:25 PM
           To: 19159330144@189.cn; 3087344532@qq.com; 610008588@qq.com
           Cc: Chari, Deepa A <dchari@sidley.com>; Springer-Ingram, Michael
           <mspringeringram@sidley.com>; Horowitz, Steven <shorowitz@sidley.com>; Yang, Irene
           <irene.yang@sidley.com>
           Subject: Service of Minute Order regarding Roadget's Motion for Entry of Default and
           Default Judgment, Dkt. 103, Roadget v. Schedule A, Case No. 23-cv-16262

           Good afternoon,

           Please see attached for service a Minute Order by Judge Jeffrey I. Cummings of the United
           States District Court for the Northern District of Illinois, issued in Case 1:23-cv-16262. The
           order states “Any objections to the motion for entry of default judgment must be filed on or
           before October 11, 2024. If no objections are filed by that date, the court will consider the
           motion unopposed.”

           In separate email, I have also shared with you a link to an online repository where you can
           find this minute order.

           Best,
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     Taylor Wilson

     TAYLOR J. WILSON
     Associate

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